          Case 1:20-vv-01163-UNJ Document 97 Filed 07/15/22 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1163V
                                        UNPUBLISHED


    EMILY BUTCHER,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: June 13, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Robert Joel Krakow, Law Office of Robert J. Krakow, P.C. New York, NY, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On September 8, 2020, Emily Butcher filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”), a defined Table Injury, after receiving the influenza (“flu”)
vaccine on October 17, 2017. Petition at 1-3, ¶¶ 4, 55. In the alternative, Petitioner alleges
that the flu vaccine she received caused her left shoulder injury. Id. at ¶¶ 56-58. Petitioner
further alleges that she received the vaccine in the United States, that she suffered the
residual effects of her SIRVA for more than six months, and that neither she nor any other
party has filed a civil action or received compensation for her SIRVA within the meaning
of the Vaccine Act but did receive an informal payment of $7,500.00 from the vaccine


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:20-vv-01163-UNJ Document 97 Filed 07/15/22 Page 2 of 2




administrator. Petition at ¶¶ 59, 61, 63-65. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On June 6, 2022, Respondent filed his Rule 4(c) Report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent “has concluded that [P]etitioner’s claims meets the Vaccine
Injury Table criteria for a left shoulder SIRVA.” Id. at 13. Respondent further agrees that
“[P]etitioner has satisfied all legal prerequisites for compensation under the Vaccine Act.”
Id.

       Because there may be some disagreement regarding the exact sequelae of
Petitioner’s SIRVA injury,3 I instructed the OSM staff attorney assisting me on this SPU
case to confirm that the parties had no objection to my issuing a ruling based upon
Respondent’s concession as stated in the Rule 4(c) Report. Both attorneys agreed I could
address the issues of sequelae and the appropriate amount of damages in this case, after
further argument and development, if they are unable to reach an informal agreement.
See Informal Remark, dated June 6, 2022.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

       IT IS SO ORDERED.

                                                                   s/Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Chief Special Master




3 In his Rule 4(c) Report, Respondent indicated that he believes “there is a lack of preponderant evidence
that other injuries and conditions are sequelae of [P]etitioner’s SIRVA, including left shoulder structural
defects or degenerative changes, left wrist or elbow injuries, right shoulder injuries, or any rheumatological
or neurological conditions.” Rule 4(c) Report at 14.

                                                      2
